 1                                                                                    Honorable Marc L. Barreca
 2                                                                                                   Chapter 7
 3                                                                                                     Ex Parte
 4
 5
 6
 7
 8
 9
10                                  UNITED STATES BANKRUPTCY COURT
11                                  WESTERN DISTRICT OF WASHINGTON
12                                            AT SEATTLE
13
14
15
       In re                                                  Case No. 14-10421-MLB
16
17     CASEY R. INGELS,
18                                       Debtor.
19
20
21
22
       JOHN S. PETERSON, as Bankruptcy Trustee,               Adversary No. 14-01387-MLB
23
24
25                                       Plaintiff,
26
27     vs.                                                    EX PARTE MOTION FOR ORDER
28                                                            SHORTENING TIME ON DEFENDANT’S
29     CASEY R. INGELS,                                       MOTION IN LIMINE
30
31
                                         Defendant.
32
33
34
35                  Casey R. Ingels (“Debtor” and/or “Defendant”), by and through counsel, J. Todd
36
37           Tracy, Jamie McFarlane, and The Tracy Law Group PLLC, moves this court for an Order
38
39           Shortening Time For Hearing on Defendant’s Motion in Limine (the “Motion”). The
40
41
42           Motion is based on the following grounds:
43
44                  1.      The present adversary is set for trial on June 8, 2015.
45
46                  2.      Pursuant to this court’s February 23, 2015 Scheduling Order, trial briefs and
47
             motions in limine must be filed on or before June 1, 2015.
        EX PARTE MOTION FOR ORDER SHORTENING
        TIME ON DEFENDANT’S MOTION IN LIMINE - 1                            720 Olive Way, Suite 1000
                                                                                Seattle, WA 98101
                                                                      206-624-9894 phone / 206-624-8598 fax


     Case 14-01387-CMA           Doc 34      Filed 06/01/15      Ent. 06/01/15 16:14:05       Pg. 1 of 2
 1               3.      Plaintiff is the bankruptcy trustee in Debtor’s main bankruptcy case.
 2
 3               4.      On May 19th, 2015, the Plaintiff filed a Prehearing Statement. In his
 4
 5
 6
         Prehearing Statement, Plaintiff lists himself as a witness who will testify at the June 8th trial
 7
 8       despite the fact that he is also the attorney for the Plaintiff.
 9
10               5.      Local Rule 9013(d)(2)(E) provides that emergency motions shall be
11
12       scheduled for hearing with such notice as the Court shall prescribe.
13
14
15
                 6.      Pursuant to Local Rule 9013(d)(3), orders to shorten time shall be the
16
17       exceptions to the rule, and will be granted only upon a showing of exigent or exceptional
18
19       circumstances and may be granted ex parte at the Court’s discretion.
20
21               7.      Here, exigency exists to warrant shortening time on Defendant’s Motion in
22
23
24
         Limine as trial is just over a week away and the court’s determination of Defendant’s Motoin
25
26       will greatly affect the trial and the evidence that may be proferred.
27
28               8. According to the foregoing, Mr. Ingels respectfully requests that Defendant’s
29
30       Motion in Limine be heard at the Court’s earliest convenience during the week of June 1,
31
32
33
         2015, and as the parties’ schedules permit. Mr. Ingels has no objection to permitting Mr.
34
35       Peterson to appear telephonically at any hearing.
36
37               DATED this 1st day of June 2015.
38
                                                           THE
39                                                               TRACY LAW GROUP PLLC
40
41
42
                                                           By     /s/ Jamie McFarlane
43                                                                J. Todd Tracy, WSBA #17342
44                                                                Jamie McFarlane, WSBA #41320
45                                                         Attorneys for Debtor/Defendant
46
47


        EX PARTE MOTION FOR ORDER SHORTENING
        TIME ON DEFENDANT’S MOTION IN LIMINE - 2                            720 Olive Way, Suite 1000
                                                                                Seattle, WA 98101
                                                                      206-624-9894 phone / 206-624-8598 fax


     Case 14-01387-CMA         Doc 34      Filed 06/01/15        Ent. 06/01/15 16:14:05       Pg. 2 of 2
